           Case 1:19-cv-07213-JGK Document 30 Filed 06/01/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------x

VICTORIA SCOTT CLARKE,                         :
                                                      REVISED SCHEDULING ORDER
                               Plaintiff,      :
                                                      19 Civ. 7213 (JGK)
                       v.                      :

ANDREW M. SAUL,                                :
Commissioner of Social Security,
                                               :
                               Defendant.
                               :
-------------------------------x


               IT IS HEREBY ORDERED, that the schedule for this case is amended as
follows:

            1. Defendant shall file a cross-motion for judgment on the pleadings by July 10,
               2020.

            2. Plaintiff shall file any reply by July 31, 2020.


               So Ordered.

Dated:         New York, New York

                    30 2020
               May_____,

                                                             /s/ John G. Koeltl
                                                      JOHN G. KOELTL
                                                      UNITED STATES DISTRICT JUDGE
